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                                JOHN F. WARD
                                      THOMAS B. BACON, P.A.
                                           329 S. Devon Ave.
                                           Wayne, PA 19087
                                   (610) 952-0219 Fax (954) 237-1990




                                               March 18, 2019



The Honorable Wendy Beetlestone
United States District Court
3809 U. S. Courthouse
601 Market Street
Philadelphia, PA 19106

Re: Owen Harty v. Villanova University In The State Of Pennsylvania
    Civ. A. No. 2:18-cv-04451-WB

Dear Judge Beetlestone:

        Pursuant to Local Rule 41.1(b), I am writing to notify the Court that the issues between
the parties in the referenced matter have been settled. Please enter an order dismissing the action
with prejudice, without costs, pursuant to the agreement of counsel. Please feel free to contact
me if you have any questions or need further information.

       Thank you for your attention to this matter.


                                                       Respectfully,




                                                       John F. Ward

JFW:jfw

cc: Leslie Miller Greenspan, Esquire (via ECF)
    Joe H. Tucker, Jr., Esquire (via ECF)
    Thomas B. Bacon, Esquire (via email)
